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                     IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

BERTRUM JEAN, Individually and as the        §
surviving father of BOTHAM SHEM              §
JEAN, ALLISON A. JEAN, Individually          §
and as the surviving mother of BOTHAM        §
SHEM JEAN, and ALLISA E. FINDLEY as          §
the Administrator of the Estate of           §                     CIVIL ACTION NO.
BOTHAM SHEM JEAN,                            §
                                             §                         3:18-CV-2862-M
      Plaintiffs                             §
v.                                           §
                                             §
THE CITY OF DALLAS and AMBER                 §
GUYGER,                                      §
                                             §
      Defendants                             §

 PLAINTIFFS’ UNOPPOSED MOTION TO EXTEND TIME TO FILE OBJECTIONS
        TO FINDINGS, CONCLUSIONS, AND RECOMMENDATIONS
              OF THE UNITED STATES MAGISTRATE JUDGE

      Plaintiffs Bertrum Jean and Allison Jean, individually and as the surviving parents

of Botham Jean, and Allisa E. Findley, as the Administrator of the Estate of Botham Jean

(the “Jean Plaintiffs”), file this unopposed motion for an extension of time to file their

written objections to the findings, conclusions, and recommendation of the United

States Magistrate Judge (Doc. 33). For the reasons more specifically stated below, the

Jean Plaintiffs request that they be granted a thirty-day extension of time from the

current, August 26, 2019 deadline, or until September 26, 2019.

I.    Introduction

      This lawsuit against the City of Dallas and individual Dallas Police Officer

Amber Guyger arises out of Guyger’s September 6, 2018 fatal shooting of Botham Jean,

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who the parties do not dispute was in his own apartment, unarmed and committing no

crime at the time. (Doc. 5). On August 12, 2019, the United States Magistrate Judge

entered its findings, conclusions, and recommendation that the District Court should

grant the City of Dallas’ Rule 12(b)(6) motion to dismiss the Jean Plaintiffs’ Complaint

and dismiss their claims against the City with prejudice. (Doc. 33 at 18). The Magistrate

Judge instructed that, if the Jean Plaintiffs wish “to object to any part of these findings,

conclusions and recommendation,” they “must file specific written objections within 14

days after being served with a copy.” (Id.) (citing 28 U.S.C. § 636(b)(1); Fed. R. Civ. P.

72(b)). Accordingly, the deadline for the Jean Plaintiffs to file their objections is

currently set for August 26, 2019.

       Plaintiffs’ counsel is scheduled to begin trial on August 20, 2019 in the United

States District Court for the Northern District of Texas in a case styled Sandra Harper,

individually and as the surviving parent of James Harper, Tony S. Harper as the Administrator

of the Estate of James Harper and K.H., a Minor, By and Through Her Mother and Guardian,

Ashlee Whadley v. City of Dallas, Texas, and Brian Rowden, No. 3:14-CV-2647. That trial

has been bifurcated, with the first phase scheduled to continue until September 5, 2019,

and the second phase scheduled to begin on September 6, 2019. Plaintiffs’ counsel is

preparing for that trial now and, as such, respectfully requests that the Plaintiffs be

given an additional thirty days to file their objections to the findings, conclusions, and

recommendation of the United States Magistrate Judge (Doc. 240). The City of Balch

Springs’ counsel is unopposed to Plaintiffs’ request.




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II.    Motion to Extend Time

       Federal Rule of Civil Procedure 6(b)(1)(A) provides that “[w]hen an act may or

must be done within a specified time, the court may, for good cause, extend the

time . . . with or without motion or notice if the court acts, or if a request is made, before

the original time or its extension expires.” This motion is being filed before the August

26, 2019 deadline to file Plaintiffs’ objections to the findings, conclusions, and

recommendation of the United States Magistrate Judge.

       Good cause exists to extend the deadline. First, Plaintiffs’ counsel, Daryl K.

Washington, is set to begin trial on August 20, 2019 in a case styled Sandra Harper,

individually and as the surviving parent of James Harper, Tony S. Harper as the Administrator

of the Estate of James Harper and K.H., a Minor, By and Through Her Mother and Guardian,

Ashlee Whadley v. City of Dallas, Texas, and Brian Rowden, No. 3:14-CV-2647, in the United

States District Court for the Northern District of Texas. Thus, as a practical matter,

Plaintiffs’ counsel simply has not had, and likely will not have, sufficient time to devote

to filing objections that address the findings, conclusions, and recommendation of the

United States Magistrate Judge.

       Second, neither the City nor Officer Guyger will suffer any prejudice as a result

of this delay and there are no current deadlines that would be adversely affected by this

extension. The City has stated that it is unopposed to the Jean Plaintiffs’ motion.

Accordingly, the Jean Plaintiffs ask that this Court grant them a thirty-day extension of

time to file their objections to the findings, conclusions, and recommendation of the

United States Magistrate Judge.

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III.   Prayer

       For these reasons, Plaintiffs respectfully request that this Court grant their

motion to extend time by thirty days, extending their deadline to file their second

amended complaint to September 26, 2019, as well as such other relief to which

Plaintiffs may be justly and equitably entitled.

                                              Respectfully submitted,

                                         By:/s/ Daryl K. Washington
                                              Daryl K. Washington
                                              State Bar No. 24013714
                                              dwashington@dwashlawfirm.com
                                              WASHINGTON LAW FIRM, PC
                                              325 N. St. Paul St., Suite 3950
                                              Dallas, Texas 75201
                                              Telephone: (214) 880-4883
                                              Facsimile: (214) 751-6685

                                              S. Lee Merritt
                                              State Bar No. PA 314891
                                              MERRITT LAW FIRM, LLC
                                              1910 Pacific Ave., Suite 11500
                                              Dallas, Texas 75201
                                              888-647-3041
                                              888-339-2050 (fax)
                                              slm@merrittatlaw.com

                                              and

                                              Benjamin L. Crump
                                              (PENDING PRO-HAC ADMISSION)
                                              BEN CRUMP LAW, PLLC
                                              122 S. Calhoun St.
                                              Tallahassee, Florida 32301
                                              850-224-2020
                                              ben@bencrump.com

                                              ATTORNEYS FOR PLAINTIFFS



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                         CERTIFICATE OF CONFERENCE

        On August 15, 2019, the undersigned contacted counsel for the City, Amy
Messer, regarding the relief being requested herein. Ms. Messer advised that she and
her client were unopposed to the relief being requested.

                                          /s/ Daryl K. Washington
                                            Daryl K. Washington




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                             CERTIFICATE OF SERVICE

       I hereby certify that on August 17, 2019, I electronically filed the foregoing
document with the clerk of the court for the U.S. District Court, Northern District of
Texas, using the electronic case filing system of the court. The electronic case filing
system sent a “Notice of Electronic Filing” to the following attorneys of record who
have consented in writing to accept this notice as service of this document by electronic
means:

Amy I. Messer
Senior Assistant City Attorney
amy.messer@dallascityhall.com

7DN Dallas City Hall
1500 Marilla Street
Dallas, Texas 75201

Attorneys for Defendants,
City of Dallas and Amber Guyger


                                           /s/ Daryl K. Washington
                                             Daryl K. Washington




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